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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                    8:16CR142

       vs.
                                                  PRELIMINARY ORDER OF FORFEITURE
JOSE MARTINEZ-PENA,

                       Defendant.




       This matter comes on before the Court upon the United States= Motion for Preliminary

Order of Forfeiture (Filing No. 62). The Court reviews the record in this case and, being duly

advised in the premises, finds as follows:

       1. The Defendant has entered into a Plea Agreement (Filing No. 59), whereby he has

agreed to plead guilty to Count I and agreed to admit to the Forfeiture Allegation of said

Information. Count I charged the Defendant with possession with intent to distribute

methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1). The Forfeiture Allegation

sought the forfeiture, pursuant to 21 U.S.C. § 853, of a Dodge Ram 3500 Crew Cab SLT on the

basis it was used or was intended to be used to facilitate said controlled substance violation and/or

was derived from proceeds obtained directly or indirectly as a result of the commission of said

controlled substance violation.

       2. By virtue of said plea of guilty, the Defendant forfeits his interest in the subject

property, and the United States should be entitled to possession of said property, pursuant to

21 U.S.C. § 853.

       3. The United States= Motion for Preliminary Order of Forfeiture should be sustained.
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        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

        A. The United States= Motion for Preliminary Order of Forfeiture is hereby sustained.

        B. Based upon the Forfeiture Allegation of the Information and the Defendant=s plea of

guilty, the United States is hereby authorized to seize the Dodge Ram 3500 Crew Cab SLT.

        C. The Defendant=s interest in the Dodge Ram 3500 Crew Cab SLT is hereby forfeited to

the United States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

        D. The aforementioned property is to be held by the United States in its secure custody and

control.

        E. Pursuant to 21 U.S.C. § 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official internet government forfeiture site (www.forfeiture.gov)

notice of this Order, Notice of Publication evidencing the United States= intent to dispose of the

property in such manner as the Attorney General may direct, and notice that any person, other than

the Defendant, having or claiming a legal interest in any of the subject property must file a Petition

with the court within thirty days of the final publication of notice or of receipt of actual notice,

whichever is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E, above, shall be

for a hearing to adjudicate the validity of the Petitioner=s interest in the property, shall be signed by

the Petitioner under penalty of perjury, and shall set forth the nature and extent of the Petitioner=s

right, title or interest in the subject property and any additional facts supporting the Petitioner=s

claim and the relief sought.




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       G. The United States may also, to the extent practicable, provide direct written notice to

any person known to have an interest in the property subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       ORDERED this 6th day of October, 2016.


                                                        BY THE COURT:



                                                            s/ Joseph F. Bataillon
                                                        JOSEPH F. BATAILLON, Senior Judge
                                                        United States District Court




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